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memo

To: Jim Gillis and Prosecution Team in U.S. v. Rafiekian
From: Sidney Powell and Michael Flynn Defense Team
Date: June 27, 2019 [CORRECTED]

Subject: Unprivileged Material from Covington & Burling Flynn File

We have partially reviewed the materials we received from Covington & Burling
as successor counsel in the Michael Flynn representation, for the chief purpose of
assuring ourselves (and you) that the testimony our client will give in the
Rafiekian matter is consistent with his grand jury testimony and statements

made in his plea agreement and plea allocution and colloquy.

During that review, we discovered several items of interest that we hereby
transmit to you. Out of an abundance of caution, we note that the items attached
to this memorandum are not covered by the attorney client privilege that Michael
Flynn had with Covington & Burling.

ITEM ONE.

There has been considerable discussion about the significance of the original
designation of the FIG-Inovo project as the “confidence” project, with the
implication that this referred to “confidence” that investors and others might

have in the stability of the Turkish government and social fabric—thus concealing
that the true focus was on Fethullah Gulen.

In fact, however, a long set of working papers, entitled “Statement of the
Problem,” has the subtitle, “How do we restore confidence in the government of
the Republic of Turkey and expose the Fethullah Gulen cult in the United
States?”

It is fair to say that in the ensuing pages of the working papers, all or nearly all of
the material concerns Gulen.
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ITEM TWO.

On or about February 15, 2017, Covington & Burling lawyers worked with FIG
lawyer Kristen Verderame to prepare a draft of a FARA Registration Statement,
and a draft of an Exhibit A form. The final versions of these documents were filed
on March 7, 2017.

The draft Registration Statement included a 4-page Attachment. The first page
included comments about “confidence” about Turkey in the context first
mentioned in connection with ITEM ONE, but immediately turned to Fethullan
Gulen as well.

The next two pages of the draft Attachment included considerable information
that was omitted from the final Registration Statement that was filed on March 7,
2017.

The last page of the draft Attachment included specific answers to the questions
that had been raised in the DOJ’s original inquiry letter of November 30, 2016,
specifically focusing on the op-ed that was published in The Hill on November 8,
2016.

None of this material was included in the Registration Statement that was filed
on March 7, 2017. In particular, the response that “A draft of the op-ed was
shared with Mr. Alptekin in advance of publishing. Mr. Alptekin suggested
changes but no such changes were accepted” (emphasis supplied) was omitted
from the final filing.

The draft Attachment to Exhibit A contained information that had been provided
by Ekim Alptekin through his counsel at Arent Fox. Some, but not all, of this
information subsequently appeared on the Registration Statement and
Supplemental Statement filed on March 7, 2017.
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memo

To: Jim Gillis and Prosecution Team in U.S. v. Rafiekian
From: Sidney Powell and Michael Flynn Defense Team
Date: September 27, 2019

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as successor counsel in the Michael Flynn representation, for the chief purpose of
assuring ourselves (and you) that the testimony our client will give in the
Rafiekian matter is consistent with his grand jury testimony and statements

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lawyer Kristen Verderame to prepare a draft of a FARA Registration Statement,
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by Ekim Alptekin through his counsel at Arent Fox. Some, but not all, of this
information subsequently appeared on the Registration Statement and
Supplemental Statement filed on March 7, 2017.

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Statement of the Problem

How do we restore confidence in the government of the Republic of Turkey
and expose the Fethullah Gillen cult in the United States?

Facts Bearing on the Problem and the
Gulen Ecosystem

MTF-EDVAQ0003
 

Where we were on
August 15, 2016

Facing a global, strong,
well masked, well
funded network that
enjoys tacit support in
the executive and
legislative branch of
the U.S. Government.

Public perception is in
his favor.

Legal battles against
the irregularities or
possible illegal
activities in his charter
schools are
overlooked, pushed
over and not
successful.

Strong support in
Congress.

Almost TEFLON. No
one wants to see him
as who he really is.

 

pape ii
Where we are on
November 4, 2016

We are changing the
narrative FROM:

An aging man of Gad who Is
fighting an autecratic
leaderin his home country
while running a network of
charter schools with high
quality education.

TO:

FG ts a terrorist. He isa
follower of Hasan Al Bana
and Seyed Qutb. Founder of
Muslim Brotherhood. U.S,
taxpayers are funding a
tnasked terror
organization. Math and
Selence and English
teachers from Turkey are
here to brainwash our
youth. He Is perfecting the
first phase of Jirad.
Preparing the battlefield ta
unleash his “soldiers” ar the
right cme.

 

 

 

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Where are we
headed?

Changing the public
perception.

Educating Congress.

Exposing Turkey's
Usama Bin Laden.

Building U5.
grassroots support to
expose the true face
of FG,

Documenting the
story in two effective

ways:

A three minute video
teaser showing the
true face of FG,

A 60 minute video
that will be sent to all
members of congress
and selected USG.

 

 

How will we get
there?

DISCOVER AND
DISPLAY

Expose FG as a
strategic national
security threat.

Deep open source
intelligence

Very senior voices
with unique
authority on the

Subject, Remove
doubt.

Formal
congressional
hearings at Foreign
Affairs and
Homeland Security
Committees

IRS
Immigration
Homeland Security

 

Public and Congressional Perception of

Gulen

TMOSPHEREIN THE

ee

 

STAIUS QUO =EASY TO BEUEVE

* POLITICAL PROTECTION

° DISSIDENT
» OLD MAN
* iMan

&

 

BEUEVE
° COMPLEX NETWORK
* Secuary Risk
a GLOBAL REACH

ALITY & FACTS =HARDTO

 

MTF-EDVA00004

 
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Our Roadmap Philosophy

   
   
 

Feedback

Exposure |

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DISCOVERY INFORMATION PLATFORM

 

 

 

 

 

 

Congressional Engagement | (i=) MEDIA
5 Policy Counter Narrative y pecueaeen @ ONLINE COMMUNTITIES
1 «

internal revenue Service (IRS) J UNBIASED | Hil@ ELECTED POLICYAAKERS
Social Media Analysis / DEFINES THE THRE | - INVESTAGATWWE AGENCIES
H-18 Visas J/ RULE OF LAW BASE PAN SECURITY AGENCIES

Fvesngasve biscovery2—~S=~S ;
eens ve Discovery co THINK TANKS « POLICY ORGS
a

 

 

We accomplish discovery by examining the following:

@ Public Perception

@ Tom Neers’ “looking behind the curtain” - First Phase of
Jihad

Congressional Action/hearings

IRS, Tax irregularities and Non-profit status
Immigration- H1B Visa’s

1782 Process of discovery

We expose by:

@ Producing a3 minute video with Sebastian Gorka, Philip
Haney, Clare Lopez and Mike Flynn and selected other highly
credible voices.

© Bring to the attention of US government agencies-IRS, INS,
and DHS potential Rule of Law/Criminal wrong doing

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® Produce a longer, in depth video

Talking Points
Phase Zero

Define the subject’s sphere of influence, advantages and
vulnerabilities. Design an effective strategy with tactical and
strategic goals.

Findings:
INFLUENCE

The subject enjoys widespread support in congress. There is
little or no real opposition to the subject’s presence or activities.
There are strong indications that the subject has built strong
advocacy on the Hill. Likewise, there are strong indications that
the subject has built an influence network in a number of key
states. The public perception about the subject is generally

positive.

ADVANTAGES

The subject is widely viewed as a legitimate political dissident
seeking refuge in the United States. The request for extradition
has raised the subject’s public appraised value. This action has
created even a stronger shield for the subject. Consolidation

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and centralization of power by the leadership in the subject's
home country provides an easy conclusion by the public that he
is an old man of God despised by an authoritarian leader in his
home country. Any criticism of the subject’s acts is immediately
interpreted as “political pressure”, illegitimate “smear
campaign” and unjust attacks on a nice old man. Our
asymmetric assessment indicates that an announcement lifting
the extradition request by the home country will reduce public
appraised value of the subject. This action, if executed will open
the space necessary for public scrutiny of the subject's
activities. This action will reduce the subject's shield of
legitimacy as a political dissident. The Extradition request has
made the subject a lot more important that he really is.

VULNERABILITIES

The subject organization operates over 150 U.S. tax payer
funded charter schools in 28 states. There are a number of
irregularities in the operation of said schools. Legal
professionals have shed light on these irregularities in the
states of Ohio and Texas. Importing teachers from Turkey
presents a number of easily observed irregularities that may
prove to be direct violations of U.S. law. Creative/improper
financial operations by the subject's organization offer a strong
opportunity to unmask the true nature of dangerous, strategic
activity under the guise of education. There may be illegal
political contributions to political campaigns and nonprofit
organizations also pose a potential vulnerability which will be

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explored. When the subject’s methods are compared to
theoretical and historical teachings of Islamic Political activists
of Hasan Al Banna, founder of Muslim Brotherhood (1928),
Sayed Qutb (1950s-1960s), and deeper in the history, Hasan
Sabbah (late 11" century), there are strong indications that the
subject is very likely conducting the first phase of Jihad by
slowly building a global loyal force to be activated at the right
time. Subject lectures provide easily observed indicators of his
long term objective. The resemblance of the subject’s activities
to Ayatoliah Khomeini who duped the west in believing that he
was a man of the cloth and a benevolent servant of the people
serves as a basis to uncover and unmask the subject's ultimate
goal of destabilizing his home country and the region.

TACTICAL and STRATEGIC Countermeasures

Devise specific actions to restrict the subject's influence. Exploit
the vulnerabilities and reduce the systemic advantages enjoyed
by the subject to open space for strategic goal on unmasking
the subject's ultimate goal. We have determined that unmasking
the subject’s true objectives requires unmasking his most
visible violations. Tactically, we will search, find and expose the
subject’s clear violations, influence operation, financial
irregularities, illegal contributions, and violations of immigration
law. As the legal professionals uncover and engage the
subject’s activities in the legal arena, we will expose the subject
in the public arena. Concurrently with our tactical engagement,

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we are producing a short video suitable for quick and wide
distribution to key influence providers to the subject including
but not limited to members of congress and key law
enforcement agencies. Our strategic communication advisors
have confirmed our pian that it is essential to have an easy to
access, portable (easy to distribute) means of educating the
influence providers to the subject. The ultimate aim of the video
production is to ask the question:

iS THE SUBJECT ENGAGED IN THE FIRST PHASE OF JIHAD?
PHASE ONE

Operationalize the plan. Harmonize Cyber Research, Field
Investigations, Strategic Communications and Congressional

outreach.

ACTIONS

» {dentified key organizations and individuais in the subject's critical
circles.

* Engaged subject’s key supporter in Congress. No major change of
position by the supporter. However, feedback suggests that the
supporter is alarmed by receiving additional relevant, fact based
information and is likely to reduce support for the subject.

* Briefed senior staff at the Homeland Security Committee with the aim
of organizing a hearing on the subject's activities and strategic aims.

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* Have deployed an experienced videography team (brand names
Aljazeera, France 24) and a former CNN Anchor to create credible,
durable, easy to distribute document in the form of a short video.

* Have interviewed/created effective footage of three victims of the
subject's activities in his home country

* Have secured the opportunity for testimony by experts on the
subject’s masked activities, Sebastian Gorka, Philip Haney, Steve
Emerson and other credible witnesses who are authorities on the
subject of political islam, Islamism and Jihadism.

- Our investigation team is engaged in the field within the boundaries
of U.S. law.

* Qur Cyber research team is also engaged within the boundaries of
U.S. law.

* There is a total of 5 professional investigators in the field headed by
our principal in charge of investigations.

* Cyber research team is comprised of 3 highly skilled professionals.

* The strategic communications team is actively reviewing and
designing a creative tool to convey the masked operation of the
subject. We expect the tool to be fully developed and ready for
distribution in short order.

The aim of the investigation is to uncover indisputable unlawful
activities of the subject and his organization and make a criminal

referral.

Operationalize the plan Harmonize Cyber Research, Field
Investigations, Strategic Gommunications and Congressional

outreach.

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CLOSE OUT OF PHASE 1 ACTIONS AND DISCUSSION

We continue to explore avenues of open source investigation of
subject’s schools in the US. This is an ambitious list that when
completed is expected to help narrow the focus regarding who
among subject’s school organizers and/or supporters may have
possible associations with terrorist organizations such as the
Muslim Brotherhood. More importantly, this is the best way to
obtain such information (i.e., via financial investigation and/or

surveillance, or via other sources).

Qur ongoing research has concluded that the schools were the
brainchild of the iconic, but reclusive, 75-year old subject, a
Sunni Muslim cleric from his home country whose has a
reported 3 and 6 million followers who regard him as their
spiritual leader. The subject’s movement in his home country is
known as Hizmet. For the past 17 years, subject has resided on
his highly protected country estate in the shadows of the
Pocono mountains near Saylorsville, Pennsylvania, To his
advocates, subject is a pious imam who promotes a tolerant
islamic view stressing the importance of hard work,
benevolence and education. To his detractors, he is powerful
and crafty politician committed to overthrowing the existing
order in his home country. In the US, he was barely known,
except to teachers and students who have defected from his

schools, concerned parents, and to auditors for Charter schools,

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grant providers, public official's and even to investigative
agencies such as the FBI, concerned about possible fraud and
other criminal violations until the most recent coup attempt in

the subject’s home country.

It should be noted that the term "subject's name schools" is
actually a misnomer and is not used by the schools themselves,
although for simplicity, we will use this term hereafter to refer to
the general aggregation of these schools. In states where the
subject schools have the greatest presence, they use innocent
sounding names such as Harmony Schools (Texas), Magnolia
Science Academy (California), Horizon Schools (Ohio, {Illinois},

and Sonoran Science Academy (Arizona).

Many people do not realize that merely being a supporter of
subject schools is not a crime. In fact, during the past several
years, many members of Congress (bipartisian) have been
courted by subject schools, even taking paid trips to subject's
home country, to meet with subject adherents extoling the
virtues of their schools. Many graduates of these schools,
though precise numbers are seldom reported, reportedly move
on to college and successful careers. The Bill Gates Foundation
has reportedly made a sizeable donation to subject schools, and
the Cosmos Foundation appears to be the largest benefactor.
President Obama reportedly visited and praised the work being

done in the Harmony School in Washington, DC

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The creation and operation of subject schools in the US appears
to be the result of a broad strategy that involves the use of a
sophisticated business model with complex organizational
structuring, multiple layers of private and public funding, clever
marketing, and aggressive legal representation in the context of
an educational system that by its very design, though certainly
not intended, is ripe for abuse and exploitation.

* Continue to Identify key organizations and individuals in the
subject’s critical circles and areas of influence.

* Continue to ‘flesh’ out the details to brief the senior staff at the
Homeland Security Committee with the aim of organizing a hearing
on the subject’s activities and strategic aims with an optimistic
timeline of before the Christmas recess, with a realistic timeline of
January 2017, Our team is already in the process of preparing
relevant material which highlights the subjects

* The videography team (brand names Aljazeera, France 24) and a
former CNN Anchor are reviewing and having footage subtitled in
English of the three victims of the subject's activities in his home
country.

* Our investigation team is engaged in the field within the boundaries
of U.S. law.

Develop spreadsheet of U.S.-based subject schools to include
when opened or, if closed, reasons why.
Compile history of criminal or civil suits against subject

schoois.

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Locate and review both pro-subject & anti-subject websites to

identify perspectives, biases, and methods used by the

latter to support their stated intentions.

identify political leaders at the local and national level who ae
either supporting or criticizing subject schools, and

summarize their respective arguments

identify journalists reporting on subject schools and explain

their unique areas of focus

* Our Cyber research team is also engaged within the boundaries of

U.S. law and is conducting baseline monitoring of a multitude of
Social and traditional Media sites.

Subject Related Websites:

gulenmovement.ca
fgulen.com/en
gulenmovementca.blogspot.ca
fethullah-gulen.org
fethullahgulenforum.org
gulenmoavement.us

 

Associated Hashtags:

#GulenMovement
#HizmetMovement
#FethullahGuien
#Hizmet
#gulenistes
#NeverForgetJuly15
#FETO

Associated Social Media Accounts:

facebook.com/GulenMovementGanada
plus.googie.com/+FethullahGulenEN

 

Associated You Tube Accounts:

youtube.com/channel/UCDAIDARL7M32qylaRimQrQ
youtube.com/channel/UCykpGY 1ylIAF6rP1zuwTJC2A

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* youtube.com/channel/UC-5_J80Fi7irg2C8h8mmevg
He's in the News:

* dailysabah.com/war-on-terror/2016/ 10/1 2/3-gulen-linked-charter-schools-
in-california-face-closure

* Jatimes.com/local/anow/la-me-edu-magnolia-charter-ties-to-gulen-
20160829-snap-story.htm|

* dailysabah.com/war-on-terror/2016/10/10/us-must-show-turkey-empathy-
over-guiens-extradition-justice-minister

* dailysabah,com/war-on-terror/2016/10/10/iragi-kurdish-administration-
seizes-schools-run-by-guienists

* reuters.com/article/us-un-assembly-turkey-erdogan-idUSKCN11Q2K5

¢ france24.com/en/20160916-turkey-coup-fethullah-qulen-extradition-how-
will-us-respond

* daliysabah.comAvar-on-terror/2016/09/1 SAop-eu-afficials-admit-regret-
over-failure-to-grasp-feto-threat

* dailysabah.com/war-on-terror/20 16/09/09/pkk-terrorists-informed-about-
gulenist-coup-attempt-in-advance

* shaber3.com/inanmadiniz-aldattiniz-sayin-bozdag-haberi/1273365

* lehighvalieylive.com/news/index.ssf/2016/07/rare_look_at_exiled_turkish_

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el.htmi
Charter Schools:
* Website:

* charterschoolscandals.blogspot.com/p/list-of-us-guien-schools.htm|
« Last Updated 12/7/2015

60 minutes:
* youtube.com/watch?v=ktlIDnM71
Ties to Clinton:

* dailycaller.com/2016/07/13/new-ties-emerge-between-clinton-and-
mysterious-islamic-cleric

* The strategic communications team has developed a very complex
approach to their efforts which include a Strategic Objectives; Target
Audiences, and Activities and Timing.

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They are actively designing a creative visual tool to convey the
masked operation of the subject. A copy of the initial draft
is done and is attached. We expect the visual tool to be
fully developed and ready for distribution in short order.
The draft “wireframe” version of the board and a citation
document which provides public record of the
“accusations” within the board. We welcome any and all
feedback and will continue working to build out a more
“produced” version with graphics, etc.

Active engagement of media outlets.

» Drudge Report and have followed up with several
different articles and angles. (Clinton foundation
connections, etc.) Drudge Report has an unprecedented
active readership and even if they don't use this
development, they are confident the outreach this week
will serve as a strong foundation for future coverage.

« Politico Morning Education - We have also compiled this
week’s coverage of both Ohio and California (LA TIMES)
coverage in hopes of inclusion in tomorrow (Thursday)
morning’s daily email. Politico is a leading policy outiet
and the “Morning Education” email is a subscription
based news aggregator received by top education policy
influencers in DC and the around the country. See
attached PowerPoint slide with a screen shot of this
coverage.

Teachers Unions - Teachers unions are a ripe ally in this
project given their automatic resistance to ail things
related to charter schoois. While our most impactful
messaging might be on the homeland security front, the
education/teachers angle could be a valuable flank that

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appeals to Democratic policymakers, whereas Homeland
Security might appeal more to Republicans. As such
initiated contact today with:

« Gene Bruskin, formerly of the American Federation of
Teachers and author of "The Story Behind the subject
Charter Schools and Their Reclusive Founder”. Have
requested a phone meeting to compare notes and gauge
his interest in participating in and assisting with the
organization of an effort to coalesce issue experts in his
field to persuade policy makers to take action. Updates
to follow.

Policymaker Fact Sheet - Producing a briefing document
ahead of policymaker meetings. An initial draft is
complete and attached.

High Ranking State Level Elected Official - Engaged in
conversation with a high ranking elected official in a state
with multiple subject Charter Schools. He is “extremely
interested” and we are briefing him soon, but wish to keep
this outreach confidential at the moment per his wishes.

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GULEN BRIEFING SHEET

Background:

In the wake of the recent attempted coup in Turkey, new focus and scrutiny has
been applied to Fethullah Gulen, a Muslim cleric living in exile in rural
Pennsylvania. The Turkish government considers the man a terrorist and has
petitioned the U.S. government for his extradition. Gulen has millions of global
followers, known informally as the Hizmet, meaning service, or the “Gulen
Movement”, The Movement’s primary source of funding is its network of schools
around the world. Over 150 of these are US Charter Schools that have used
taxpayer dollars to expand their operations into 26 states.

Fethullah Gulen is a radical:

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In his sermons in the 1990s, Gulen urged his followers to infiltrate the
Turkish military, media, and government and wait for the right moment to
rise up, ordering them to “move within the arteries of the system, without
anyone noticing your existence, until you reach all the power centers. ;
Gulen promised that doing so would provide “the guarantee of our Islamic
future.”

Despite his seeming moderate position, at times, Fethullah Gulen has
called the United States his “merciless enemy.” Additionally, he has
claimed that the Jews are responsible for ideas like Communism that have
purposefully steered the world towards cataclysm.

Gulen Controls a network of corrupt US Charter Schools:

Gulen-associated schools participate in a process called “closed-loop
leasing,” where the charter schools use taxpayer money to pay excessive
rent to a Gulen-associated real estate corporation. The real estate
corporation funnels those profits back to Gulen or uses the funds to start
more schools.

Gulen-associated schools exploit the H-1B visa program, which are to be
used when there are no qualified American workers, to bring Turks to the
United States as teachers. In 2009, the Gulen schools received government
approval for 684 visas, over 200 more than Google. Parents and other
teachers have complained that the Turkish educators are clearly
unqualified.

Gulen-associated schools have been investigated by authorities and
journalists in the states of Ohio, California, Texas, Louisiana, Illinois,
Massachusetts, Virginia, Pennsylvania and Georgia, as well as by the FBI,
for a litany of offenses, including the misappropriation of funds, the
falsification of standardized tests, immigration fraud, and bid-rigging.

Gulen is Politically Powerful and Influential in the US:

In 2002, Fethullah Gulen applied for permanent residence in the United
States, claiming that he was an “exceptional individual” who deserved
special consideration. His application was denied, but a few years later,
Gulen won his appeal with the help of letters from George Fidas, a former
director of outreach for the C.1.A., Morton Abramowitz, a former American
ambassador and Graham Fuller, a former senior C.LA. official.

This was a surprising development after an American diplomat in Turkey
had cabled to Washington about Gulen’s sharply radical past as an Islamic
preacher, the cult-like obedience that Gulen demands, and his
involvement in the affairs of almost 100 countries.

The Gulen movement has illegally financed Congressional travel abroad
and provided hundreds of thousands of dollars of improper campaign
donations to congressional and presidential candidates.

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* Gulen’s chief liaison to New York, Recep Ozkan, donated between
$500,001 and $1,000,000 to the Clinton Global Initiative.

Responsible for the attempted Coup in Turkey:

¢ Western diplomats have called Erdogan’s accusations of Gulenist
involvement “compelling,” saying that “Giilenists played a credible role in
[the coup].”

* General Hulusi Akar, the highest ranking member of the Turkish armed
forces and a captive during the July coup, has claimed that his abductors
offered to put him in touch with their opinion leader, Fethullah Gulen.

* Several plotters have released statements identifying themselves as loyal
Fethullah Gulen and claimed that the coup was in response to an
imminent crackdown on Gulenists in the Turkish military.

Statements by Senior US officials:

President Obama: President Barack Obama and Turkish President Tayyip Erdogan
discussed the status of U.S.-based cleric Fethullah Gulen, blamed by Turkish authorities
for masterminding a recent failed coup, during a call on Tuesday, the White House said.

The Turkish government has filed material in electronic form about Gulen with the U.S.
government, which has been waiting for a formal extradition request, White House
spokesman Josh Earnest said.

U.S. officials have said Turkey must provide proof that Gulen was involved in the coup
attempt. Any extradition request from Turkey, once submitted, would be evaluated under
the terms of a treaty between the two countries, Earnest said.

Obama offered U.S. assistance for Ankara's investigation into the attempted coup and
pressed Erdogan to proceed according to the democratic principles outlined in Turkey's
constitution, Earnest said.

"The principles of democracy should be adhered to even as a thorough investigation
is conducted," he said.

The U.S. State Department said it was still in the process of analyzing the documents
submitted by Turkey and could not characterize them as an extradition request for Gulen.
Source: htip://www.reuters.conyvarticle/us-turkey-security-usa-extradition-

id USKCN0ZZ23E7iI=0

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Anthony Blinken: Question: We see that the U.S. government is taking
Turkey's request regarding the return of Fethullah Gulen seriously. Do you agree
with Ankara that this topic may damage Turkish-American relations?

Deputy Secretary Blinken: We are determined to do everything we can to
help Turkey as it pursues its investigations of those responsible for the attempted
coup. And with regards specifically to the case of Mr. Gulen, we've had an
exchange of experts visiting both Turkey and the U.S. — legal experts, so that
Turkey fully understands the legal process that’s involved. I just want to be very
clear, this is not a political question at all for the United States — it’s simply a
legal question. We have laws and requirements when it comes to the extradition
of any person from a country with whom we have an extradition treaty and we
need to work through those legal requirements. But we've had very good
exchanges with Turkey on this question and we’re working through the

information that’s been provided. Source: https://tr.usembassy.gov/deputy-
secretary-antony-blinkens-interview-ntvs-ahmet-yesiltepe/

Ambassador James Jeffrey: U.S. Ankara Ambassador James Jeffrey, on Dec.
4, 2009, briefed in regards to Giilen's application for Permanent Residence status
in the U.S., with a background about Giilen and his movement. Saying that Giilen
faced charges in Turkey of plotting to overthrow the state, Jeffrey mentioned a
sermon in 1986, where Giilen is heard declaring that "our friends, who have
positions in legislative and administrative bodies, should learn its details and be
vigilant all the time so they can transform it and be more fruitful on behalf of
Islam in order to carry out a nationwide restoration." Holding a Green Card now
and living in Pennsylvania's Pocono Mountains, Fethullah Gillen was doubted to
have infiltrated the TNP, and they "have found no one who disputes it."

Additionally, Jeffrey found out that the "TNP applicants who stay at Giilenist
pensions are provided with the answers in advance of the TNP entrance exam."
Apart from that, even more subtly, "Giilen's lack of transparency creates doubt
about his motives and leads to suspicions about what lies ahead," Jeffrey says. As
for the aspects of concern in the allegations that the U.S. government is somehow
behind the Gillen Movement, Jeffrey concluded that "the U.S. is not ‘sheltering’
Mr. Gillen and his presence in the U.S. is not based on any political decision."
Source: http://www.dailysabah.com/war-on-terror/2016/08/02/a-decade-of-
the-gulen-movement-on-wikileaks-more-than-meets-the-eye

Stuart Smith: The Gilenists' penetration of the National Police (TNP), media
outlets and their record of going after anyone who criticizes Giilen were among
the items on the annual agenda of the U.S. Embassy in Ankara in 2005, when a
decision by U.S. immigration authorities for the first time denied him the right to
travel outside of the country. Stuart Smith, the U.S. vice consul general of the

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Intelligence Department in Ankara, reported that three ranking TNP asked for a
meeting with the Istanbul legate as a means of asking whether the "FBI could
provide some sort of clean bill of health" for Fethullah Giilen. Upon such a
request, Smith juxtaposes some concerns about the Gillen Movement's actions:
“Severe pressure on businessmen to continue to give money to support Giilenist
schools or other activities," "using their school networks to cherry-pick students
they think are susceptible to being molded as proselytizers and to indoctrinate
boarding students," "the cult-like obedience and conformity” the movement
insists on its substructures. Source: http://www.dailysabah.com/war-on-
terror/2016/08/02/a-decade-of-the-gulen-movement-on-wikileaks-more-than-
meets-the-eve

Deborah K. Jones: A cable, with a more suspicious and questioning tone,
classified by Consul General Deborah K. Jones on May 23, 2006, clarifies that
U.S. authorities in Turkey started to count Gillen Movement's institutions and
academies in the U.S., Central Asia, Caucasus, Russia, the Balkans, Africa, South
East Asia, the Far East, the Middle East and Europe. Furthermore, the cable
shows that a profile recognition for those traveling to the U.S., particularly with
the aim of visiting Fethullah Giilen, was also actively carried out by Consular
officers. Compiling a list of Gillenist organizations as well as periodical meetings
to discuss trends within the Giilenist applicant pool let Consular officers in
Ankara and Istanbul notice "what appears to a purposeful ‘shifting’ of applicant
profiles appearing for visa interviews in what may be an effort by Giilenists to
identify 'successful’ profiles.” After giving the general features of applicants and
visitors (the young exchange visitor; the married middle-aged male with no
English and traveling alone; the middle-school-aged English student; the
graduate student going for English), the Consul General Jones claims that
“evasiveness of Giilenist applicants leaves Consular officers uneasy" although
there seems to be "a benign humanitarian movement" on the surface. Source:
http://www.dailysabah.com/war-on-terror/2016/08/02/a-decade-of-the-gulen-

movement-on-wikileaks-more-than-meets-the-eye

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BREIFING ON GULEN RELATED CHARTER SCHOOLS IN TEXAS

Current Situation

There are approximately 46 Gulen-affiliated charter schools serving 31,000 students in
the state of Texas. Chairman McCaul has two schools within his district.

In May, Amsterdam & Partners filed a 32-page complaint alleging that Harmony Public
Schools, the state’s largest charter school network, hires under-qualified Turkish teachers
and steers business to companies run by Turkish nationals, including some former
Harmony employees.

Amsterdam & Partners additionally alleged that Harmony Schools are guilty of funneling
money to Fethullah Gulen via tithes from teachers, that Harmony schools have misused
bond money from the state of Texas to operate schools in Arkansas, and that Harmony
abuses the H-1B visa program to bring in Turkish workers as teachers and then shuffle
them around the United States in various positions.

The Texas Education Agency had found the allegations credible and were investigating
the complaint. However, on October 17, the TEA cleared Harmony of allegations that it
illegally steered business to vendors with ties to Harmony and the nation of Turkey. But,
the TEA only dismissed several other claims that involved teacher hiring, special
education and other matters, saying it was its jurisdiction.

In response, Amsterdam & Partners has criticized the TEA for only investigating two of
the ten allegations, saying “this cursory inquiry not only ignored the majority of the
issues raised in the complaint, but also failed to look beyond the registered agents of the
contracting companies without even considering who the beneficiaries are.” Amsterdam
continued, “Knowing the Gillenists, they will undoubtedly attempt to portray this
whitewash as a victory. But the fact is that there are many areas that TEA did not address,
and we intend to request other state agencies and public officials to scrutinize Harmony’s
activity.”

Inadequate Investigation

Among the issues in the complaint that were left aside by TEA include evidence of
discrimination in hiring, pay, and promotion favoring Turkish males, preference for
related Turkish vendors in major contracts, discrimination against English Language
learners and Students with Disabilities, abuse of the H-1B visa program to bring in
underqualified Turkish nationals for teaching and leadership positions, misuse of federal
program funding for low socioeconomic students and students with special needs, and
systematic overcharging of leases to Harmony schools by Harmony’s private real estate
arm to siphon over $18 million of public funds out of the schools.

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Despite finding that Harmony had paid over $18.7 million dollars to Turkish owned
vendors in the last two years, TEA conducted no analysis to determine whether these
vendors had illegal relationships to Harmony’s leadership, as alleged in the complaint.
This deserves more investigation because it is known that some of these local funds
Harmony receives come from questionable sources. For example, Harmony received
$175,000 from Gulen-affiliated schools in Oklahoma that in a recent audit by the
Oklahoma State Auditor were considered an improper use of state funds.

Past Improprieties

This is not the first time that Harmony Public Schools has been accused of impropriety.

In 2011, The New York Times found that Harmony gives the vast majority of its
construction and renovation contracts to Turkish-owned companies, even when other
firms had offered to do the job for less money. The Times also noted that Harmony
applies for hundreds of H-1B visas, claiming that there are no skilled Americans qualified
to teach children. Texas has a population of almost 30,000,000 people.

In 2014, Harmony Public Schools settled a federal civil rights complaint that involved a
female American teacher who made less than her male colleagues from Turkey, including
those with less experience.

Also in 2014, Harmony reached ah agreement with the U.S. Department of Education
over how it teaches children who are learning English or have disabilities. A federal
investigation found that those students were “significantly underrepresented” at
Harmony, and that Harmony didn’t ensure those students received the extra help they
needed.

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& Repurarions

To: Flynn Intel Group

From: Sphere Consulting

Date: October 18, 2016

RE: Charter Schools and the Department of Education

 

The Charter Schools Program (CSP)

The Department of Education has a Charter Schools Program that disburses
discretionary grants to “create new high-quality public charter schools, as well as to
disseminate information about ones with a proven track record.” Federal funds are
also available to replicate and expand successful schools; help charter schools find
suitable facilities; reward high-quality charter schools that form exemplary
collaborations with the non-chartered public school sector; and invest in national
activities and initiatives that support charter schools.

The CSP is part of the Department of Education's Office of Innovation and
Improvement (Olt). The OI! has a self-state mission “to accelerate the pace at which
the U.S. identifies, develops, and scales solutions to education’s most important or
persistent challenges,” which it accomplishes through strategic investments and
discretionary grant programs.

CSP Grants

The CSP disburses grants and funding in about a half dozen ways. These are listed
with their FY 2016 funding levels.

1. The Secretary of Education awards grants to State Educational Agencies (SEAs)
to enable them to conduct charter school programs through sub-grants at the state
level.

a. $177,209,326 for new awards and $11,548,828 for continuation awards

2. The Secretary of Education awards grants for “Planning, Program Design, And
Initial Implementation Grant” directly to programs that do not have a State
Educational Agency or that do not have a State Educational Agency with an
approved application for CSP grants.

a. $3,325,107 for new awards and $2,784,727 for continuing awards

3. The Secretary of Education awards grants for “dissemination” (including assisting
the foundation of new charter schools, developing partnership, producing
curriculum materials, and conducting evaluations) directly to programs that do not

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have a State Educational Agency or that do not have a State Educational Agency
with an approved application for CSP grants.

a. This grant has not been awarded or continued since 2014.
The CSP awards grants to charter schools or non-profit charter management
programs to expand enrollment of high-achieving programs by substantially
increasing the number of available seats per school, or to open one or more new
charter schools based on the model for which the eligible applicant has presented
evidence of success.

a. $65,759,488 for new awards and $32,316,646 continuing awards
The CSP awards funds that are used to match programs funded with nonfederal
dollars that make payments, on a per-pupil basis, to provide charter schools with
facilities financing. The funds scale down annually and are phased out after 5

years.

a. Funding data is not available for 2016. In 2015, $9,000,000 was disbursed

as a continuation of previous grants.

6. The CSP awards grants that support efforts by eligible entities to improve the

quality of charter schools by providing technical assistance and other types of

support on issues of national significance and scope.

a. In 2015, provided $4,123,072 in new awards.

7, The CSP provides grants to eligible entities to permit them to enhance the credit

of charter schools so that the charter schools can access private-sector and other
non-Federa! capital in order to acquire, construct, and renovate facilities at a

reasonable cost.
a. In 2015, provided $14,069,608

Guilen Schools Receiving Federal Funding

 

 

 

 

 

 

 

 

 

 

 

____ School Chartering Org. Location Year | Grant Details
Harmony Schools” | Cosmos Foundation | Houston,TX | 2011 3 years
I | | | $4,940,897 |
Horizon Science Concept Schools Chicago,IL | 2015 3 years
Academy- $337,138
__ Southwest | a |
| Chesapeake Math & Chesapeake Hanover, MD | 2014 3 years
| IT Academy-South Lighthouse $617,120
Foundation fi. |
Thomas Edison Apple Educational | Somerset, NJ | 2010 3 years |
Energy Smart | _ Services $530,507
Triad Math & Washington Greensboro, | 2010 1 year
Science Academy Educational NC $530,432
_ |___ Foundation foo
Triad Math & Washington | Greensboro, | 2012 2 years
Science Academy Educational | NC $751,145
Foundation __| -
Noble Schools* Concept Schools Chicago,IL | 2014 3 years
_ _ $507,209 |

 

 

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| Young Scholars of | Apple Educational —
Western Services

 

‘Pittsburgh,PA | 2012|  2years |
$301,500

 

 

Pennsylvania | a | a
Vision Academy Apple Educational Lansdowne, | 2016 3 years
| Services PA | $783,104 |

_ —_—___.— $$$ 4 a4:

*Grant was awarded to a network of schools, rather than an individual institution

https:/ /innovation.ed.gov/what-we-do/charter-schools/credit-enhancement-for-
charter-school-facilities-program/awards/

FIND OUT WHAT BUILDERS BUILD GULEN SCHOOLS THEN CROSS REFERENCE

 

 

https: //innovation.ed.gov/what-we-do/charter-schools/charter-school-program-
state-educational-agencies-sea/awards/

WHEN THERE IS AN APPLICATION PDF, FIGURE OUT IF THE STATE HAS
DISBURSED FEDERAL FUNDS

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& Reputarions

To: Flynn Intel Group

From: Sphere Consulting

Date: October 18, 2016

RE: Charter Schools and the IRS

 

Overview

Charter schools are usually classified as 501(c)(3) organizations and therefore avoid
federal income taxes and, in some instances, state income taxes as well. To maintain
501(c)(3) status, charter schools must demonstrate that they are not operated by a for-
profit business. However, a charter schoo] can maintain 501(c)(3) status and contract a
for-profit management company for its operation, provided that that the school
demonstrates that it is organized and operated for exclusively charitable purposes and not
for the benefit of private management companies and/or for service providers.

When examining the 501(c)(3) status of charter schools, the IRS assesses whether the: (1)
charter school board remains in control and continues to exercise its fiduciary
responsibility to the school; and (2) board delegates its responsibility and ultimate
accountability for the school's operations to a for-profit management company. Examples
of charter schools losing 501(c)(3) status are sparse,

The IRS has conveniently provided a list of factors used in its assessment.

IRS Guidelines for Non-Profit Assessment

 

1. Is the school governed by an independent Board of Directors?

“A board appointed or dominated by a comprehensive management company
raises questions as to whether the school will be operated for the benefit of the
management company. The examiner should determine whether a structurally
independent board is involved in active oversight of the school's operations or
whether the board has delegated its duties and responsibilities to the management
company.”

2. Does the Board of Directors actively oversee the sckool?

“A Board must show that it is not a front for the benefit of the management
company.” To demonstrate active oversight, a Board has: (1) regular meetings,

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with recorded minutes, more often than once or twice a year; (2) a conflict of
interest policy requiring members to disclose al] financial interests they have in
any service provided to the school, even if specific policies are left to the
discretion of the school’s bylaws; (3) ultimate responsibility for meeting the terms
of its charter by setting and approving broad school policies such as the budget,
curriculum, admissions procedures, student conduct, school calendars, and dispute
resolution procedures; and (4) fiscal responsibility and takes appropriate action to
ensure the fiscal health of the school.

3. Are contracts negotiated at arms’ length and for the benefit of the school?

“A charter school must show that contracts, especially comprehensive
management contracts, have been negotiated at arm's length and are for the
benefit of the school rather than the service provider. Boilerplate contracts may be
an indicium that the terms of the contract were not the subject of negotiations
between independent parties. Representation of both the school and the
management by the same attorney is also an indication of the absence of arm's
length negotiations.”

4, Are the terms of contracts consistent with the charter school’s expressed
purposes?

Some contract terms, may result in a finding that the school is operated for the
benefit of the management and preclude exemption. These are the IRS’s areas of
concern: (1} the length of a contract should balance a management company’s
long-term needs with the school’s flexibility to meet its fiduciary responsibility;
(2) Board policies should not be contracted as they are necessary to define a
school’s identity; (3) service agreements should detail the responsibilities of both
the management company and the school; (4) personnel contracts with
management companies should not have non-compete clauses as these benefit the
management company by preventing a school from retaining teachers should a
separation between school and management organization; (5) management fees
should be reasonable and commensurate with services provided; (6) a service
contract should specify the provisions for termination and the procedure for
evaluating when the terms of the contract are in default.

5. Does a contractual provision require the name of the school to be associated
with the management organization?

‘In many cases, contractual provisions require a charter school to attach the
management's name to the school (i.e., Company X Charter School or Charter
School, a Company X affiliate.) "Name branding" has no clear exempt purpose. It
links management companies to exempt schools and aliows the company to draw
goodwill from the relationship. It allows the management companies to build
name recognition without additional expense. It also places a contractual burden
on the charter schools, making it more difficult for the school to terminate the

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relationship with the management. A "name branding" requirement may be an
indicator of private benefit depending upon the facts and circumstances.”

6. Are ancillary services the result of arm’s length negotiation er are they
adhesion contracts with a captive schoo! hoard?

On the Charter School Site of Research:

Attached is the broad overview of Horizon Science Academies and their online
presence. We are continuing to build out this network and persons of interest within
it; however, we haven't found anything significant yet related to this investigation.

Of interest, however, is that of all the "umbrella"-type organizations related to the
Ohio Charter Schools, Horizon seems to be the only one with a significant online
presence. Noble, Concept and New Pian Learning have very little to no online
presence that has been found thus far. We will keep digging on them, but | think it’s
very interesting and worth running down the “why” behind this as we go.

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OMB No. 1124-0001; Expires Apri] 30, 2017

U.S. Department of Justice Registration Statement
Washington, DC 20530 Pursuant to the Foreign Agents Registration Act of
1938, as amended

INSTRUCTION SHEET-READ CAREFULLY

 

1. Use. All persons required to register under this Act shall use this form in submitting the information required by Section
2(a).

2. Read Act and Rulés. Registrant should carefully read the Act and the Rules thereunder before completing this form.

3. Answer, Unless otherwise specifically instructed in this form, a registrant shall answer every item on this form. Whenever
the item is inapplicable or the appropriate response to an item is "none", an express statement to that effect shall be made.

4, Attachments. Inserts and riders of less than full page size shall not be used. Whenever insufficient space is provided for
response to any item, reference shall be made in such space to a full insert page or pages on which the item number and
inquiry shall be restated and a complete answer given.

5. Filing. The completed statement, including all exhibits, shall be filed in electronic form with the Registration Unit,
Connterespionage Section, National Security Division, U.S. Department of Justice at h'p:~www.fara.eo.. The statement
must be filed in accordance with 28 U.S.C. § 1746, A copy should be retained by the registrant.

6. Filing Fee. The filing of this document requires the payment of a filing fee for each listed foreign principal as set forth in
Rule 5(d)(1), 28 C.F.R. § 5.5(d)(1).

7. Privacy Act Statement. The filing of this document is required for the Foreign Agents Registration Act of 1938, as amended,
22 U.S.C. § 611 et seq., for the purposes of registration under the Act and public disclosure. Provision of the information
requested is mandatory, and failure to provide the information is subject to the penalty and enforcement provisions
established in Section 8 of the Act. Every registration statement, short form registration statement, supplemental statement,
exhibit, amendment, copy of informational materials or other document or information filed with the Attorney General under
this Act is a public record open to public examination, inspection and copying during the posted business hours of the
Registration Unit in Washington, DC. Statements are also available online at the Registration Unit's webpage:
htip: www fara gov. One copy of every such document, other than informational materials, is automatically provided to the
Secretary of State pursuant to Section 6(b) of the Act, and copies of any and ali documents are routinely made available to
other agencies, departments and Congress pursuant to Section 6{c} of the Act, The Attorney General also transmits a semi-
annual report to Congress on the administration of the Act which lists the names of all agents registered under the Act and the
foreign principals they represent. This report is available to the public in print and online at: hap:/wwv- fare gov.

8. Public Reporting Burden. Public reporting burden for this collection of information is estimated to average 1.375 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data
needed, and completing and reviewing the collection of information. Send comments regarding this burden estimate or any
other aspect of this collection of information, including suggestions for reducing this burden to Chief, Registration Unit,
Counterespionage Section, National Security Division, U.S. Department of Justice, Washington, DC 20530; and to the Office
of Information and Regulatory Affairs, Office of Management and Budget, Washington, DC 20503.

Note: Omi this instruction sheet when filing this Statement.

FORM NSD-1
Revised 03/14

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OMB No, 1424-0001; Expires April 30, 2017

 

U.S. Department of Justice Registration Statement
Washington, DC 20530 Pursuant to the Foreign Agents Registration Act of
1938, as amended
(a eS eS SSS SSS SSS
I~REGISTRANT

1. Name of Registrant

Flynn Intel Group, Inc.

 

2. Registration No, (To Be Assigned By the FARA Registration Unit)

 

3. Principal Business Address
44 Canal Center Plaza, Alexandria VA 22314

 

4. If the registrant is an individual, furnish the following information:
(a) Residence address(es)

(b) Other business address(es), if any

(c} Nationality
(d) Year of birth
(e) Present citizenship

{f) If present citizenship not acquired by birth, state when, where and how acquired

(g) Occupation

 

5. If the registrant is not an individual, furnish the folowing information.
(a) Type of organization: Committee Association (J Parmership [J Voluntary group CO]
Corporation Other (specify)
(b) Date and place of organization Delaware Secretary of State, June 12, 2015

 

(c) Address of principal office 44 Canal Center Plaza, Alexandria VA 22314

(d) Name of person in charge Michael T. Flynn and Bijan Kian

(e) Locations of branch or local offices N/A

(f) Ifa membership organization, give number of members W/A

 

FORM NSD-/
Revised 03/14

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(PAGE 2)

(g) List all partners, officers, directors or persons performing the functions of an officer or director of the registrant.

Name Residence Address(es) Position Nationality
Michael T. Flynn available upon request Chairman and CEO US
Bijan Kian Vice-Chairman and Director US
Philip Oakley President US

(h) Which of the above named persons renders services directly in furtherance of the interests of any of the foreign principals?

Michaet T. Flynn, Bijan Kian

(i) TDeseribe the nature of the registrant's regular business or activity.
Flynn intel Group is a consulting firm that provided intelligence research and advisory services.

(Gj) Give a complete statement of the ownership and control of the registrant.
Ownership as of November 31, 2016 was as follows:
Michael T. Flynn (350,000 shares), Bijan Kian (300,000 shares), Philip Oakley (250,000 shares), Dr. Payman Arabshahi (5,000
shares), Darkshore LLC (1,000 shares). The Corporation acts pursuant to is By-Laws pursuant to which the Board of Director
governs the organization. Directors include Michael T. Flynn, Bijan Kian and Philip Oakley.

 

6. List all employees who render services to the registrant directly in furtherance of the interests of any of the foreign principals in
other than a clerical, secretarial, or in a related or similar capacily.

Name Residence Address(es} Nature of Services
Michael T. Flynn available upon request Director, consulting
Bijan Kian Director, consulting

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(PAGE 3}

H--FOREIGN PRINCIPAL
7. List every foreign principal! for whom the registrant is acting or has agreed to act.
Foreign Principal

Principal Address(es)
Inovo B.V.

47 Adireaanstraat, 3581 SC Ultrecht, The Netherlands

 

I—ACTIVITIES

8. In addition to the activities described in any Exhibit B to this statement, will you engage or are you engaging now in activity on
your own behalf which benefits any or all of your foreign principals? Yes & No 0
If yes, describe fully.

Since this is filed retrospective to activity under this engagement, we note that during the course of the engagement and
thereafter, Flynn Intel Group officials (particularly Michael T. Flynn, in his capacity as a public figure separate from Flynn

Intel Group) frequently wrote, spoke or provided Interviews relating to national security, Although not undertaken at the
direction of any foreign principal including but not limited to Inovo, it is possible that such activities may have an indirect

benefit to Inovo and its clients on whose behalf Inovo engaged Flynn Intel Group or other foreign principals unrelated ta
this engagement.

 

TV—FINANCIAL INFORMATION

9. (a) RECEIPTS-MOMIES

During the period beginning 60 days prior to the date of your obligation to register® to the time of filing this statement,

did you receive from any foreign principal named in Item 7 any contribution, income, or money either as compensation or for
disbursement or otherwise? YesO) No Bj

if yes, set forth below in the required detail and separately for each such foreign principal an account of such monies.’

Foreign Principal Date Received Purpose Amount

Total
1 The term “foreign principal,” as defined in Section 1{b) of the Act, includes a foreign governmem, foreign political party, foreign organization, loreign individual and, fer the

purpose of registration, a8 organization or an individual any of whose uctivilies are directly or indirectly supervised, directed, controlled, financed, or subsidized in whole or in
major pan by a forcign government, forcign political party, foreign organization or foreign individual.

2 An agent must register within ten days of becoming an agent, and before acting ag such.

3 A vegistrant is required to file as Exbibit D if be collects or receives contributions, loans, moneys,

or other things of value for a foreign principal, as part ofa fundraising
campaign. There is no printed form for this exhibit. (See Rute 201(e), 28 C.F.R. § 5.201).

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(b) RECEIPTS-THINGS OF VALUE
During the period beginning 60 days prior to the date of your obligation to register’ to the time of filing this statement, did you
receive from any foreign principal named in Item 7 anything of value* other than money, either as compensation, or for

 

disbursement, or otherwise? Ye O No &l

If yes, furnish the following information:

Foreign Principal Date Received Thing of Value Purpose
10, (2) DISBURSEMENT-MONIES

During the period beginning 60 days prior to the date of your obligation to register® to the time of filing this statement, did you
spend or disburse any money in furtherance of or in connection with your activities on behalf of any foreign principal named m
Item 7? Yes 0 No

If yes, set forth below in the required detail and separately for each such foreign principal named including monies wansmitted,
if any, to each foreign principal.

Date To Whom Purpose Amount

 

(b) DISBURSEMENTS-THINGS OF VALUE

During the period beginning 60 days prior to the date of your obligation to register’ to the time of filing this statement, did you
dispose of any thing of value* other than money in furtherance of or in connection with your activitics on behalf of any foreign
principal named in ttem7? Yes No

If yes, furnish the following information:

Date Recipient Foreign Principal Thing of Value Purpose

 

{c) DISBURSEMENTS-POLITICAL CONTRIBUTIONS

During the period beginning 60 days prior to the date of your obligation to register” to the time of filing this statement, did you,

the registrant, or any short form registrant, make any contribution of money or other thing of value from your own funds and on
your own behalf in connection with an election to any political office or in connection with any primary election, convention, or
caucus held to select candidates for any political office? Yes No

If yes, fumish the following information:

Date Amount or Thing of Value Political Organization or Candidate Location of Event

 

4,6, 7and 9 See Faotote 2, on page 3. . |
Sand $ Things of value include but are not limited to gifts, interest free loans, expense Iree travel, favored stock purchases, exclusive rights, favored treatment over competitors,

"kickbacks", and the like,

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V-INFORMATIONAL MATERIALS“

11, Will the activities of the registrant on behalf of any foreign principal include the preparation or dissemination of informational
materials? Yes No (1

IF YES, RESPOND TO THE REMAINING ITEMS IN THIS SECTION V.

 

12, Identify each such foreign principal.
Inova B.V.

 

13. Has a budget been established or specified sum of money allocated to finance your activities in preparing or disseminating
informationa] materials? Yes O No &l

If yes, identify each such forcign principal, specify amount and for what period of time.

See attachment

 

14, Will any public relations firms or publicity agents participate in the preparation or dissemination of such informational materials?
Yes No (J
If yes, furnish the names and addresses of such persons or firms.

See attachment

 

15. Activities in preparing or disseminating informational materials will inchide the use of the following:

(2 Radio or TV broadcasts (0 Magazine or newspaper [[) Motion picture films () Letters or telegrams
(1 Advertising campaigns (CO Press releases ( Pamphlets or other publications [J Lectures or speeches
(0 Other (specify) See attachment

Electronic Communications

O Email

C] Website URL(s):

CJ Social media website URL(s):
CO) Other (specify) See attachment

 

16. Informational materials will be disseminated among the following groups:

Cl Public officials [J Civic groups or associations

(1) Legislators C2 Libraries

( Government agencies () Educational groups

(1 Newspapers (i) Nationality groups

(1 Editors CO Other (specify) _See attachment _ _

 

17. Indicate language to be used in the informational materials:
English {) Other (specify) —

10 The term informational materials includes any onal, visual, graphic, written, or pictorial information or matter of any kind, jocluding thal published by means of advertising,
books, periodicals, newspapers, lectures, broadcasts, mation pictures, or any Means or instrumentality of interstate or foreign commerce or otherwise. Informativnal materials

disseminated by an agent of a foreign principal as part of an activity in itself cxempt from registration, or an activity which by Iself would not require registration, need not be
fited pursuant 10 Section 4(b) of the Act.

 

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VI-~EXHIBITS AND ATTACHMENTS

18. (a) The following described exhibits shall be filed with an initial registration statement:

Exhibit A~ This exhibit, which is filed on Form NSD-3, sets forth the information required to be disclosed concerning each
foreign principal named in Item 7.

Exhibit B- This exhibit, which is filed on Form NSD-4, sets forth the information conceming the agreement or understanding
between the registrant and the foreign principal.

(b) An Exhibit C shall be filed when applicable. This exhibit, for which no printed form is provided, consists of a true copy of
the charter, articles of incorporation, association, constitution, and bylaws of a registrant that is an organization. A waiver of
the requirement to file an Exhibit C may be obtained for good cause shown upon written application to the Assistant Attorncy
General, National Security Division, U.S. Department of Justice, Washington, DC 20530. (Sec Rule 201(c) and (d)).

(c) An Exhibit D shall be filed when applicable. This exhibit, for which no printed form is provided, sets forth an account of
money collected or received as a result of a fundraising campaign and transmitted for a foreign principal. (See Rule 201 (e)).

 

VIL-EXECUTION

In accordance with 28 U.S.C. § 1746, the undersigned swear(s) or affirm(s) under penalty of perjury that he/she has (they have) read
the information set forth in this registration statement and the attached exhibits and that he/she is (they are) familiar with the contents
thereof and that such contents are in their entirety true and accurate to the best of his/her (their) knowledge and belief, except that the
undersigned make{s) no representation as to truth or accuracy of the information contained in the attached Short Form Registration
Statement(s), if any, insofar as such information is not within his/her (their) personal knowledge.

(Date of signature) (Print or type name under each signature or provide electronic signature!)

 

 

 

individual agent, if the registrant is an individual, or by 8 majority of those partners, officers, directors or persons performing similar

1} This statement shal! be signed by the i Ticers. n
t that the organization can, by power of attorney, authorize onc or more individuals to execute this statement on its behalf.

functions, if the registrant is an organization, excep’

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Flynn Intel Group, Inc., Supplemental Statement

Attachment
15, 16. Activities

 

 

Note: In September 2016, the Flynn Intel Group filed a registration under the Lobbying
Disclosure Act for its representation of Inovo BV (“Inovo”). Upon further review, and to
eliminate any potential doubt, the Flynn Intel Group is electing to file a registration and
supplemental statement under the Foreign Agents Registration Act in lieu of its prior
LDA registration. Although the Flynn Intel Group was engaged by a private firm, Inovo
BV, and not by any foreign government, Flynn Intel Group’s work for Inovo could be
construed to have principally benefitted the Republic of Turkey. The Department’s
regulations provide that the LDA exemption from FARA registration is not available if a
foreign government or political party is the principal beneficiary. See 28 C.F.R. § 5.307.
This retroactive supplemental statement is being filed after the Flynn Intel Group began
to close its operations in November 2016, and the supplemental statement is therefore
based on information that is currently available to Flynn Intel Group, to the best of its
knowledge, after undertaking due diligence with the assistance of counsel.

 

 

In August 2014, Flynn Intel Group entered into a contract with Inovo, a consulting firm
based in the Netherlands. The contract provided that Fiynn Intel Group would perform research,
engage a public relations firm and a filming and production crew to potentially distribute the
results of its research, and hold weekly calls with the client to discuss progress on the project.
Flynn Intel Group understood the engagement to be focused on improving U.S. business
organizations’ confidence regarding doing business in Turkey, particularly with respect to the
stability of Turkey and its suitability as a venue for investment and commercial activity. Inovo
has represented through its counsel that no part of the fees paid to Flynn Intel Group by Inovo
was provided by any foreign government.

Under the contract, Flynn Intel Group conducted open-source research for Inovo and at
Inovo’s direction. The research, which was conducted by independent contractors retained for
this purpose, focused on Mr. Fethullah Gillen and charter schools in the United States that are
associated with, or allegedly associated with, Mr. Gillen. The results of Flynn Intel Group’s
research were provided to Inovo and Mr. Alptekin, and to Sphere Consulting, a public relations
firm engaged by Flynn Inte! Group, at the direction of Inovo, Flynn Intel Group and the public
relations firm developed various materials and documents related to this research for potential
dissemination. Because the project was terminated early, the full scope of the contract was not
performed, and to the best of Flynn Intel Group’s knowledge, none of the research materials
prepared by the Flynn Intel Group wereever disseminated to third parties.

In early September 2016, Flynn Intel Group was invited by Mr. Alptekin to meet with a
group of government officials from Turkey for the purpose of understanding better the political

climate in Turkey at the time as background for the project. Officials of the Republic of Turkey
attending this meeting on September 19, 2016 were the Minister of Foreign Affairs and the

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Minister of _ , to the best of Flynn Intel Group’s current understanding. Unrelated to the
contract with Inovo, also in September 2016, Flynn Intel Group Vice-Chairman, Mr. Bijan Kian,
was invited to speak at a “Turkey Investment Conference.” Mr. Alptekin and officials of the
Republic of Turkey also participated in the conference.

Mr. Kian met with the staff of Rep. Michael McCaul on two occasions in approximately
October 2016. It is the Flynn Intel Group’s understanding that the meetings were not initially
related to the Inovo matter, but over the course of the discussions, Mr. Kian raised the firm’s
representation of Inovo and issues related to the research conducted for Inovo concerning Mr.
Giilen and Turkey.

The Flynn Intel Group conducted outreach to an individual associated with a U.S. labor
organization regarding charter schools in the United States that are associated with, or allegedly
associated with, Mr. Giilen. Flynn Intel Group also oversaw outreach, which was conducted by a
public relations firm, to officials in various state governments in the United States.

Pursuant to its contract with Inovo, Flynn Inte! Group informally engaged a group of
individuals (independent contractors) to form a film and production crew for the purposes of
producing a video documentary based on its research associated with Mr. Giilen. The activities
included a couple of videotaped interviews and other initial development of content. Because
the contract was terminated early, to the best of Flynn Intel Group’s current knowledge, the
video was neither finashed nor disseminated to any third parties.

In late October and early November 2016, representatives of Flynn Intel Group
developed an op-ed article based, in part, on the research conducted by Flynn Intel Group under
the Inovo engagement. The op-ed was not written or published at the request of, or under the
direction or control of, Inovo, the Republic of Turkey, or any other party. Nonetheless, the op-ed
addresses subject matter related to the research that Flynn Intel Group conducted for Inovo, and a
draft of the op-ed was shared with Inovo in advance of publication. No changes were made to
the op-ed based on any feedback from Inovo. Sphere Consulting assisted Flynn Intel Group with
placement of the op-ed with The Hill publication.

 

 

 

 

 

 

 

 

 

Attachment #2
14. Receipt of Monies
Date Received | Foreign Purpose Amount
Principal = ——
09/09/2016 Inovo BV | Consulting | $200,000.00 |
_ 10/11/2016 Inovo BV | Consulting |. $185,000.00 _ |
11/14/2016 Inovo BV | Consulting $145,000.00 a |
TOTAL: | $530,000.00
Attachment #3

15. Disbursements of Monies

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Date ToWhom | Purpose ____ | Amount |
9/13/2016 Ekim Alptekin Refund for reduction in scope | $40,000.00
10/17/2016 Ekim Alptekin Refund for reduction in scope ____ $40,000.00
09/14/2016 | BijanKian —_—| Consulting ___ $12,000.00
09/30/2016 Bijan Kian Consulting $10,000.00
09/30/2016 Bijan Kian Consulting $ 2,000.00

_ 10/11/2016 _—| Bijan Kian | Consulting ___ $10,000.00
11/15/2016 —_| Bijan Kian Consulting $40,000.00 |

11/22/2016 | Bijan Kian Consulting _ ee $50,000.00 _|

11/22/2016 Bijan Kian Consulting ee $4,000.00
10/14/2016 Bob Kelley Consulting $2,500.00 |
10/31/2016 | Bob Kelley Consulting $2,500.00
11/21/2016 Bob Kelley Consulting - - $5,000.00
10/04/2016 | Brian McCauley | Consulting $5,000.00
10/13/2016 Brian McCauley | Consulting —__ $3,000.00
11/14/2016 Brian McCauley | Consulting $5,000.00
12/05/2016 Brian McCauley | Consulting $15,000.00
09/19/2016 Carl Pilgram _| Administrative Support _ $ 4,000.00
10/25/2016 Car] Pilgram | Administrative Support $4,000.00
11/16/2016 | Carl Pilgram Administrative Support $4,000.00

10/11/2016 | David Enders —_| Videography | | $1,700.00
10/11/2016 David Enders Videography | $850.00 |
12/02/2016 David Enders Videography 7 $850.00
12/02/2016 | Hank Cox Editing _ ee $300.00

09/13/2016 | Michael G Flynn | Administrative Support $4,000.00 _
10/21/2016 Michael GFlynn | Administrative Support $4,000.00
11/22/2016 Michael G Flynn | Administrative Support $4,000.00
09/14/2016 | Michael T. Flynn | Consulting $12,000.00
10/20/2016 Michael T. Flynn | Consulting $10,000.00
10/20/2016 Michael T. Flynn | Consulting $ 12,000.00 —

| 11/21/2016 Michael T. Flynn | Consulting | $54,000.00

11/21/2016 Michael T, Flynn | Consulting | $ 40,000.00

10/11/2016 Mike Boston Consulting | $ 8,000.00 |

10/14/2016 Mike Boston Consulting $8,000.00 —
11/21/2016 Mike Boston Consulting a $8,000.00
11/10/2016 Operational! | Consulting $20,000.00

Behavioral
| Services | -
White Canvas Open source research — social

|} Group media a
10/12/16 _—| Rudi Bakhtiar Interview _ $1,200

10/13/2016 Paul Becker Consulting a $1,500.00

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| 11/22/2016 Paul Becker | Consulting - [ $6,000.00

| 10/03/2016 Sam Pemberton | Administrative $712.00

| 10/24/2016 Sam Pemberton | Administrative $ 710.00

10/11/2016 = SGRLLC | Public Affairs —__ $15,000.00 |

10/24/2016 SGR LLC Public A ffairs $10,000.00 |

11/16/2016 =| SGRLLC | Public Affairs $15,000.00 |
TOTAL: : $574, 662.00

Answers to questions posed in letter dated November 30, 2016:

1)

2)

3)

4)

5)

6)

At any time prior or subsequent to the November 8, 2016, op-ed in The Hill, did you or
anyone else at Flynn Intel Group have any communications with any official in the
Turkish Government or Mr, Alptekin regarding the op-ed? If yes, please describe the
nature and content of such communications.

A draft of the op-ed was shared with Mr. Alptekin in advance of publishing. Mr.
Alptekin suggested changes but no such changes were accepted.

To your knowledge, at any time prior or subsequent to publication of the op-ed, did Mr.
Alptekin or anyone else associated with Inovo BV have any communications with any
official in the Turkish Government regarding the op-ed?

Not to our knowledge.

Other than yourself, who was involved in preparation of the op-ed?

My business partner, Bijan Kian, and his long-time editor, Hank Cox.

Did any official in the Turkish Government, or anyone acting on behalf of the Turkish
Government, ask or direct that the op-ed be written, or have any involvement in the
preparation of the op-ed? If yes, please explain.

No.

Did the Turkish Government, or anyone acting on its behalf, receive a copy of the op-ed
(or a draft thereof) prior to its publication?

Not to our knowledge.

Did you, or any other person or entity, receive any compensation for writing the op-ed?
If so, who was the source of that compensation?

No.

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OMB No. 1124-0006; Expires April 30, 2017

U.S, Department of Justice Exhibit A to Registration Statement
Washington, DC 20530 Pursuant to the Foreign Agents Registration Act of
1938, as amended

INSTRUCTIONS. Fumish this exhibit for EACH foreign principal listed in an initial statement and for EACH additional foreign principal acquired
subsequently. The filing of this document requires the payment of a filing fee as set forth in Rule (d}(1), 28 C.F.R. § 5.5(d)(1). Compliance is
accomplished by filing an electronic Exhibit A form at http:/Awww.fara.gov.

Privacy Act Statement. The filing of this document is required by the Foreign Agents Registration Act of 1938, as amended, 22 U.S.C. § 611 et seq.,
for the purposes of registration under the Act and public disclosure. Provision of the information requested is mandatory, and failure to provide this
information is subject to the penalty and enforcement provisions established in Section 8 of the Act. Every registration statement, short form
registration statement, supplemental statement, exhibit, amendment, copy of informational materials or other document or information filed with the
Attomey General under this Act is a public record open to public examination, inspection and copying during the posted business hours of the
Registration Unit in Washington, DC. Statements are also available online at the Registration Unit’s webpage: http://www-.fara.gov. One copy of
every such document, other than informational materials, is automatically provided to the Secretary of State pursuant to Section 6(b) of the Act, and
copies of any and all documents are routinely made available to other agencies, departments and Congress pursuant to Section 6(c) of the Act. The
Attorney General also transmits a semi-annual report to Congress on the administration of the Act which lists the names of all agents registered under
the Act and the foreign principals they represent. This report is available to the public in print and online at: http://www. fara.zov.

Public Reporting Burden. Public reporting burden for this collection of information is estimated to average .49 hours per response, including the
time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the
collection of information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions
for reducing this burden to Chief, Registration Unit, Counterespionage Section, National Security Division, U.S. Department of Justice, Washington,
DC 20530; and to the Office of Information and Regulatory Affairs, Office of Management and Budget, Washington, DC 20503.

 

1. Name and Address of Registrant 2. Registration No.
Flynn Intel Group, Inc.

44 Canal Center Plaza, Alexandria, VA 22314

 

 

3. Name of Foreign Principal 4, Principal Address of Foreign Principal

Inovo BV

47 Adriaanstraat, 3581 SC Utrecht, The Netherlands

 

 

5. Indicate whether your foreign principal is one of the following:
C1 Government of a foreign country '
1 Foreign political party
(1 Foreign or domestic organization: If either, check one of the following:

O Partnership 1 Committee
C) Corporation C Voluntary group
( Association EE) Other (specify) Besloten vennootschapprivate (private limited company)

 

C0 Individual-State nationality organized under the laws of the Netherlands

 

 

6. If the foreign principal is a foreign government, state:
a) Branch or agency represented by the registrant

b) Name and title of official with whom registrant deals

 

7. If the foreign principal is a foreign politica] party, state:
a) Principal address

b) Name and title of official with whom registrant deals

¢) Principal aim

 

1 "Government of a foreign country," as defined in Section 1(e) of the Act, includes any person or group of persons exercising sovereign de facto or de jure political jurisdiction
over any country, other than the United States, or over any part of such country, and includes any subdivision of any such group and any group or agency to which such sovereign de
facto or de jure authority or functions are directly or indirectly delegated. Such term shall include any faction or body of insurgents within a country assuming to exercise
governmental authority whether such faction or body of insurgents has or has not been recognized by the United States. FORM NSD-3

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8. If the foreign principal is not a foreign government or a foreign political party:

a) State the nature of the business or activity of this foreign principal.

See attachment.

b) Is this foreign principal: See attachment.

Supervised by a foreign government, foreign political party, or other foreign principal YesO] No O
Owned by a foreign government, foreign political party, or other foreign principal Yes No
Directed by a foreign government, foreign political party, or other foreign principal Yes(] No O
Controlled by a foreign government, foreign political party, or other foreign principal Yes 1] No
Financed by a foreign government, foreign political party, or other foreign principal Yes) No 1]
Subsidized in part by a foreign government, foreign political party, or other foreign principal YesO No 0

 

9. Explain fully all items answered "Yes" in Item 8(b). (if additional space is needed, a full insert page must be used.)

See attachment.

 

10. Ifthe foreign principal is an organization and is not owned or controlled by a foreign government, foreign political party or other
foreign principal, state who owns and controls it.

See attachment.

 

EXECUTION

In accordance with 28 U.S.C. § 1746, the undersigned swears or affirms under penalty of perjury that he/she has read the
information set forth in this Exhibit A to the registration statement and that he/she is familiar with the contents thereof and that such
contents are in their entirety true and accurate to the best of his/her knowledge and belief.

 

Date of Exhibit A | Name and Title Signature

 

 

 

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Flynn Intel Group, Inc., Registration Statement, Exhibit A

Attachment
litem 7- Foreign Principal

Inovo BV (“Inova”) is a Dutch company incorporated in 2005 to provide business
consultancy services.

According to Arent Fox, LLP, counsel to Mr. Alptekin/Inovo:

1. Tnovo is a privately owned company that has not received, directly or indirectly, funds or
financial support from any government during the course of its engagement of Flynn Intel
Group Inc. including the Republic of Turkey;

2. Atthe time Inovo hired Flynn Intel Group, Inovo represented a private sector Israeli
company that sought to export natural gas to Turkey, and it was for support of its
consulting work for this client that Inovo engaged Flynn Intel Group, specifically to
understand the tumultuous political climate at the time between the United States and
Turkey so that Inovo could advise its client regarding its business opportunities and
investment in Turkey;

3. Mr. Alptekin is dual citizen of the United States and the Netherlands, and is a
businessman who holds a number of positions in international business organizations
such as Honorary Counsel to the Republic of Albania, Chairman of the Turkish-
American Business Council, and Mr. Alptekin nor any organization in which he
participates is an agent of the government of the Republic of Turkey.

Flynn Intel Group does not know whether or the extent to which the Republic of Turkey
was involved with its retention by Inovo for the three-month project. Flynn Intel Group is aware
that Mr. Alptekin consulted with officials of the Republic of Turkey regarding potential work by
Flynn Intel Group, and Mr. Alptekin introduced officials of the Republic of Turkey to Flynn
Intel Group officials at a meeting on September 19, 2016.

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